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                                                                                         If
                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DMSION

   UNITED STATES OF AMERICA,
                                                 Criminal No. 17-cr-20274
                Plaintiff, .
                                                 Honorable Bernard A. Friedman
   v.
   D-1   JUMANANAGARWALA,                        VIO: 18 U.S.C.    § 371
   D-2   FAKHRUDDIN ATT~                              18 u.s.c.    § 1001
   D-3   FARIDA ATT~ and                              18 U.S.C.    § 1512(k)
   D-4   FATEMADAHODWALA                              18 U.S.C.    § 1512(b)(3)



        . Defendants.
   _______________    /

                      FOURTH SUPERSEDING INDICTMENT

   THE GRAND JURY CHARGES:

                               GENERAL ALLEGATIONS

   At all times relevant to this Fourth Superseding Indictm.ent:

   1.    Some members of a particular community (the Community) are known to

   practice female genital mutilation (FGM). In the Community, this practice is called

   khatna or khafd.

   2.    JUMANA NAGARWALA, an emergency room physician, was employed by

   a major southeastern Michigan medical center, and was a resident of Wayne County,

   Michigan
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   3.    FAKHRUDDIN ATTAR, an internal medicine physician, owned and

   operated Burhani Medical Clinic, located at 15712 Farmington Road, Livonia,

   Michigan.

   4.    FAR.IDA ATTAR, FAKHRUDDIN ATTAR's wife, was employed as the

   office manager of Burhani Medical Clinic, located at 15712 Farmington Road,

   Livonia, Michigan.

   5.    FATEMA DAHODWALA was a resident of Oakland County, Michigan.

                                    COUNT ONE
                          Conspiracy to Make False Statements
                                    18 u.s.c. § 371

                           D-1 JUMANANAGARWALA
                            D-2 FAHKRUDDIN ATTAR
                               D-3 FARIDA ATTAR
                           D-4 FATEMADAHODWALA

   6.    Paragraphs 1 through 5 of this Fourth Superseding Indictment are re-alleged

   and incorporated by reference as though fully set forth herein.

   7.    Beginning in or around May 2016, and continuing through on or about April

   10, 2017, in the Eastern District of Michigan, and elsewhere, defendants JUMANA _

   NAGARWALA, FAKHRUDDIN ATTAR, FARIDA ATTAR, andFATEMA

   DAHODWALA did knowingly and willfully conspire and agree together and with

   persons known and unknown to the Grand Jury to make and cause to be made false,

   fictitious, and fraudulent statements and representations as to material facts in a




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   matter within the jurisdiction of the executive branch of the Government of the

   United States, in violation of 18 U.S.C. § 1001.

                               Purpose of the Conspiracy

   8.    It was the purpose of the conspiracy for JUMANA NAGARWALA,

   FAKHRUDDIN ATTAR, FARJDA ATTAR, and FATEMA DAHODWALA and

   others to make false, fictitious, or fraudulent statements and representations to law

   enforcement officers, including task force officers and special agents with the

   Federal Bureau of Investigation (FBI) and Department of Homeland Security

   Investigations (HSI), among others, regarding JUMANA NAGARWALA

   performing khatna and khatna being performed in the Community.

                                   Manner and Means

   9.    The manner and means by which the defendants and others sought to

   accomplish the purpose of the conspiracy included, among other things:

   10.   As early as 2005, khatna was being practiced in the Community within the

   Eastern District of Michigan.

   11.   On May 11, 2016, a resolution was passed in the Community identifying that

   FGM was prohibited in the State of Michigan and the United States generally, that

   khatna could be interpreted as a type of FGM, and that all members of the

   Community should not engage in khatna (Resolution).




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   12.   Despite knowledge of the Resolution and the prohibitions against FGM in the

   State of Michigan and the United States generally, JUMANA NAGARWALA,

   FAKHRUDDIN ATTAR, FARIDA ATTAR, and others continued to practice and

   engage in khatna.

   13.   In order to conceal the ongoing practice of khatna in the Community,

   JUMANA NAGARWALA, FAKHRUDDIN ATTAR, FARIDA ATTAR, and

   FATEMA DAHODWALA agreed to make false statements; intentionally omit

   information from statements, thereby causing portions of statements to be

   misleading; and intentionally conceal material facts, thereby creating false

   impressions by such statements to law enforcement officers, including the FBI, HSI,

   and other investigating agencies, regarding whether khatna took place, or was, in

   fact, taking place in the Community or was being performed by JUMANA

  NAGARWALA.

                                      Overt Acts

   14.   In furtherance of the conspiracy and to accomplish its object and purpose, the

  defendants and others committed and caused to be committed, in the Eastern District

  of Michigan, and elsewhere, the following overt acts:

   15.   On or about May 19, 2016, FAKHRUDDIN ATTAR sent a text message to

  Community leadership (or "B of D") that provided, "Regarding FGM, if someone

  asks about it, we can refer them to the resolution we passed, and that we strongly



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  condemn FGM. What was done in various parts of the world in our community (of

  course in the past) was CHR (Clitoral Hood Reduction). You can look this up on

   Wikipedia. This is gynecologic or plastic surgery procedure done fairly commonly

   in the U.S. and elsewhere. It has beneficial effects for women, including improved

  sexual gratification."

   16.   On or about May 19, 2016, FAKHRUDDIN ATTAR sent a second text

  message to Community leadership that provided, "Pl don't comment on this. Pl call

  me if any questions."

   17.   On or about May 19, 2016, FAKHRUDDIN ATTAR sent a text message to

   JUMANA NAGARWALA indicating that he had "Sent this [foregoing text

   message] to the B of D," and inquired whether the text message "Looks okay," to

   which JUMANA NAGARWALA responded "Okay," and, "Yes, I think so."
                                               I


   18.   On or about April 10, 2017, during an interview with FBI and others,

   FATEMA DAHODWALA was asked about khatna and said she was going to call

   her husband, but, in fact, called JUMANA NAGARWALA, who was with

   FAKHRUDDIN ATTAR and FARIDA ATTAR.

   19.   During that telephone call, specifically regarding khatna, JUMANA

  NAGARWALA told FATEMA DAHODWALA to say to law enforcement that

  nothing happened, that it never happened, and that she did not know about it.




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   20.   During that telephone call, specifically regarding khatna, FARIDA ATTAR

   told FATEMA DAHODWALA to say to law enforcement that we don't believe in

   this anymore and to deny the allegations.

   21.   Thereafter,    FATEMA        DAHODWALA           agreed    with    JUMANA

   NAGARWALA and FARIDA ATTAR, returned to the interview, and despite

   knowing that khatna was performed in the Community told the FBI that they did not

   perform khatna and further offered to provide the Resolution to the FBI in an effort

   to misrepresent to the FBI that khatna was not occurring in the Community.

         All in violation of 18 U.S.C. § 371.

                                     COUNT TWO
                                    False Statements
                                    18 U.S.C. § 1001

                           D-1 JUMANANAGARWALA
                              D-3 FARIDAATTAR
                           D-4 FATEMADAHODWALA

   22.   Paragraphs 1 through 5, and 9 through 21, of this Fourth Superseding

   Indictment are re-alleged and incorporated by reference as though fully set forth

   herein.

   23.   On or about April 10, 2017, within the Eastern District of Michigan, and

   elsewhere,   defendants JUMANA NA GARWALA,               FARIDA     ATTAR,      and

   FATEMA DAHODWALA, in a matter within the jurisdiction of the executive

   branch of the Government of the United States, that is an investigation into FGM,


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   knowingly and willfully (1) falsified, concealed, and covered up by trick, scheme,

   and device a material fact, and (2) made materially false, fictitious, and fraudulent

   statements and representations, to wit: FATEMA DAHODWALA, aided and

   abetted by JUMANA NA GARWALA and FARIDA ATTAR, did state to FBI Task

   Force Officer Sunshine Ponzetti that khatna was not performed in the Community,

   when in fact, as they knew then, that khatna was, in fact, performed in the

   Community, in violation of 18 U.S.C. § 1001.

                                   COUNT THREE
                          Conspiracy to Tamper with a Witness
                                  18 U.S.C. § 1512(k)

                           D-1 JUMANANAGARWALA
                            D-2 FAKHRUDDIN ATTAR
                               D-3 FARIDAATTAR

   24.   Paragraphs 1 through 5, and 9 through 21, of this Fourth Superseding

   Indictment are re-alleged and incorporated by reference as though fully set forth

   herein.

   25.   On or about April 10, 2017, in the Eastern District of Michigan, and

   elsewhere, defendants JUMANA NAGARWALA, FAKHRUDDIN ATTAR, and

   FARIDA ATTAR did knowingly and willfully conspire and agree together and with

   other persons both known and unknown to the Grand Jury to attempt and to

   intimidate, threaten, and corruptly persuade each other and other members of the

   Community, and to engage in misleading conduct toward other members of the



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   Community, with the intent to hinder, delay, and prevent the communication to a

   law enforcement officer of the United States, including task force officers and

   special agents with the FBI and HSI, of information relating to the commission and

   possible commission of a Federal offense, namely FGM, in violation of 18 U.S.C. §

   1512(b)(3).

                              Purpose of the Conspiracy

   26.   It was the purpose of the conspiracy for JUMANA NAGARWALA,

   FAKHRUDDIN ATTAR, and FARIDA ATTAR to intimidate, threaten, and

   corruptly persuade each other and other members of the Community, and to engage

   in misleading conduct toward other members of the Community, with the intent to

   hinder, delay, and prevent the communication by members of the Community to law

   enforcement officers, including task force officers and special agents with the FBI

   and HSI, of information relating to the commission and possible commission of a

   Federal offense, namely FGM, and to attempt to do so.

                                  Manner and Means

   27.   The manner and means by which the defendants and others sought to

   accomplish the purpose of the conspiracy included, among other things:

   28.   JUMANANAGARWALA, FAKHRUDDIN ATTAR, andFARIDAATTAR

   did instruct others, including FATEMA DAHODWALA, Community Member- I,

   Community Member-2, and Community Member-3, among others, to make false



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   statements; intentionally omit information from statements, thereby causing portions

   of the statements to be misleading; and intentionally conceal material facts, thereby

   creating false impressions by such statements to law enforcement officers of the

   United States, namely the FBI, and other investigating agencies regarding whether

   khatna took place, or was, in fact, taking place, or was performed by mMANA

   NAGARWALA.

         All in violation of 18 U.S.C. § 1512(k).

                                     COUNT FOUR
                                 Tampering with a Witness
                                  18 U.S.C. § 1512(b)(3)

                           D-1    JUMANANAGARWALA
                                 D-3 FARIDAATTAR

   29.   Paragraphs 1 through 5, and 9 through 21, of this Fourth Superseding

   Indictment are re-alleged and incorporated by reference as though fully set forth

   herein.

   30.   On or about April 10, 2017, within the Eastern District of Michigan, and

   elsewhere, defendants mMANA NAGARWALA and FARIDA ATTAR did

  .intimidate, threaten, and corruptly persuade another person, and engaged in

   misleading conduct toward another person, and attempted to do so, with the intent

   to hinder, delay, and prevent the communication to a law enforcement officer of the

   United States of information relating to the commission and possible commission of

   a Federal offense, namely FGM, to wit: WMANA NAGARWALA and FARIDA

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   ATTAR instructed FATEMA DAHODWALA to make false statements;

   intentionally omit information from statements, thereby causing portions of the

   statements to be misleading; and intentionally conceal material facts, thereby

   creating false impressions by such statements to law enforcement officers of the

   United States, namely the FBI, and other investigating agencies regarding whether

   khatna took place, or was, in fact, taking place, or was performed by mMANA

   NAGARWALA, in violation of 18 U.S.C. § 1512(b)(3).

                                   COUNT FIVE
                               Tampering with a Witness
                                18 U.S.C. § 1512(b)(3)

                           D-1 JUMANANAGARWALA
                            D-2 FAHKRUDDIN ATTAR
                               D-3 FARIDAATTAR

   31.   Paragraphs 1 through 5, and 9 through 21, of this Fourth Superseding

   Indictment are re-alleged and incorporated by reference as though fully set forth

   herein.

   32.   On or about April 10, 2017, within the Eastern District of Michigan, and

   elsewhere, defendants JUMANA NAGARWALA, FAKHRUDDIN ATTAR, and

   FARIDA ATTAR did intimidate, threaten, and corruptly persuade another person,

   and engaged in misleading conduct toward another person, and attempted to do so,

   with the intent to hinder, delay, and prevent the communication to a law enforcement

   officer of the United States of information relating to the commission and possible


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   commission of a Federal offense, namely FGM, to wit: defendants JUMANA

   NAGARWALA, FAKHRUDDIN ATTAR, andFARIDAATTARattempted to, and

   instructed Community Member-2 to tell Community Member- I to make false

   statements; intentionally omit information from statements, thereby causing portions

   of the statements to be misleading; and intentionally conceal material facts, thereby

   creating false impressions by such statements to law enforcement officers of the

   United States, including the FBI, and other investigating agencies regarding whether

   khatna took place, or was, in fact, taking place, or was performed by JUMANA

   NAGARWALA, which false statements and representations Community Member-

   1 relayed during an interview with the FBI, in violation of 18 U.S.C. § 1512(b)(3).

                                                 THIS IS A TRUE BILL.
                                                  s/Grand Jury Foreperson
                                                 GRAND JURY FOREPERSON
   SAIMA S. MOHSIN
   Acting United States Attorney

    s/Sara D. Woodward                            s/John Neal
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                                                 j ohn.neal@usdoj.gov

    s/Daniel Kahn
   DANIEL KAHN
   Acting Chief, Fraud Section
   Department of Justice, Criminal Division


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    s/Amy Markopoulos                           s/Malisa Dubai
   AMY MARKOPOULOS                             MALISADUBAL
   Trial Attorney                              Assistant Chief
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   Dated: March 10, 2021




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 United States District Court                               Criminal Case Cover Sheet                                        Case Number:
 Eastern District of Michigan                                                                                                17-cr-2027 4

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.


 Com1>anion,.Q~e;;lqfgrrnatio6•                                                  •'-~'   ;'   Companion Case Number:
 This may be a companion case based on LCrR                        57.10(b)(4) 1 :

                                    • Yes lillNo                                              AUSA's Initials:           >'"·.

            Case Title:         USA v. Jumana Nagarwala, et al

            County where offense occurred: Wayne County and Oakland County

            Offense Type: Felony

            Indictment --- based upon LCrR 57.10 (d) [Complete Superseding section below)




 Superseding to Case No:                         --'-17'--c-=-r'--=-20:.,_2_7_4_ _ _ _ _ _ _ _ Judge:                         Bernard A. Friedman


              Reason:
              Embraces same subject matter but adds the additional defendants or charges below:

              Defendant Name                                             Charges                                             Prior Complaint (if applicable)


              Count One                                                  18 U.S.C. § 371
              D-1 Jumana Nagarwala                                       Conspiracy to Make False
              D-2 Fahkruddin Attar                                       Statements
              D-3 Farida Attar
              D-4 Fatema Dahodwala

              Count Two                                                  18 U.S.C. § 1001
              D-1Jumana Nagarwala                                        False Statements
              D-3 Farida Attar
              D-4 Fatema Dahodwala

              Count Three                                                18 U.S.C. § 1512(k)
              D-1 Jumana Nagarwala                                       Conspiracy to Tamper with a
              D-2 Fahkruddin Attar                                       Witness
              D-3 Farida Attar

              Count Four                                                 18 U.S.C. § 1512(b)(3)
              D-1Jumana Nagarwala                                        Tampering with a Witness
              D-3 Farida Attar

              Count Five                                                 18 U.S.C. § 1512(b)(3)
              D-1 Jumana Nagarwala                                       Tampering with a Witness
              D-2 Fahkruddin Attar
              D-3 Farida Attar




                                                                                   Page 1 of 2
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Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.




     March 10, 2021                                                             ·<'t, ./~     't   1 . . ,_

                 Date                                                        Sara D. Woodward
                                                                             Assistant United States Attorney
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1
 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same or related parties are
present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases even though one of them may have already
been terminated.




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